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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                CASE NO. 20-mj-03851-AOR

  UNITED STATES OF AMERICA,

                Plaintiff,

  v.

  HABIB GEAGEA PALACIOS,

             Defendant.
  ______________________________/

                                    DETENTION ORDER

         Pursuant to 18 U.S.C. § 3142(f), on November 5, 2020, a hearing was held to

  determine whether defendant HABIB GEAGEA PALACIOS should be detained prior to

  trial. Having considered the factors enumerated in 18 U.S.C. § 3142(g), this Court finds

  that no condition or combination of conditions will reasonably assure the appearance of

  this defendant as required. Therefore, it is hereby ordered that the defendant HABIB

  GEAGEA PALACIOS be detained prior to trial and until the conclusion thereof.

         In accordance with the provisions of 18 U.S.C. § 3142(i), the Court hereby makes

  the following findings of fact and statement of reasons for the detention:

         1. The defendant is charged by criminal complaint in the Southern District of

  Florida, with conspiracy to dispense and distribute Oxycodone in violation of Title 21

  United States Code, Section 846. Therefore, the defendant is charged with a narcotics

  offense for which a maximum sentence of more than ten (10) years is prescribed,

  resulting in a rebuttable presumption that no condition or combination of conditions will
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  reasonably assure the appearance of the defendant at all future court proceedings. Title

  18, United States Code, Section 3142(e)(3)(a).

            2. The weight of the evidence against the defendant is substantial. The

  government has proffered that the defendant has owned a cash-only pain clinic in

  Miami-Florida since 2007. The defendant employed doctors who dispensed thousands

  of units of opioids to patients who did not need them. The government conducted

  several successful undercover visits to the defendant's pain clinic to obtain opioids. Two

  witnesses told the government that the defendant had stated that he would flee to Cuba

  if he got in serious trouble.

            The defendant was paid between $15,000 to $18,000 in cash per week from the

  clinic.

            3. The pertinent history and characteristics of the defendant support pretrial

  detention. The defendant was born on September 18, 1981 in Cuba and is a United

  States citizen. The defendant has frequent foreign travel including travel to Cuba at

  least once a year. Several witnesses have observed the defendant take large sums of

  cash when traveling to Cuba. The defendant's father resides in Cuba and the defendant

  has renovated a property in Cuba where his father resides. The defendant has multiple

  bank accounts with significant balances and owns nine pieces of property with over $3.5

  million in net equity. The defendant faces a term of imprisonment of 13 to 20 years if

  convicted of the instant offense.

            4. Based on the defendant's substantial sentence if convicted, the defendants'

  significant assets, the large amounts of cash generated from the defendant's business,

  the large amounts of money deposited in the defendant's multiple bank accounts, the

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  defendant's frequent travel to Cuba, the defendant's propensity to take large sums of

  cash when traveling to Cuba, the defendant's renovation of a property in Cuba and his

  statements to two witnesses that he would flee to Cuba if he got in serious trouble, the

  undersigned believes that the defendant would not appear if released on bond. The

  Court specifically finds by a preponderance of the evidence that there are no conditions

  or combination of conditions which reasonably will assure the defendant's appearance

  as required. Based upon the above findings of fact the Court has concluded that this

  defendant presents a risk of flight.

         The Court hereby directs:

         (a) That the defendant be committed to the custody of the Attorney General for

  confinement in a corrections facility separate, to the extent practical, from persons

  awaiting or serving sentences or being held in custody pending appeal;

         (b) That the defendant be afforded reasonable opportunity for private

  consultation with counsel; and

         (c) That, on order of a court of the United States or on request of an attorney for

  the Government, the person in charge of the corrections facility in which the defendant

  is confined deliver the defendant to a United States Marshal for the purpose of an

  appearance in connection with a court proceeding.

          DONE AND ORDERED at Miami, Florida, this 5th day of November, 2020.



                              _______________________________________
                              JOHN J. O'SULLIVAN
                              CHIEF UNITED STATES MAGISTRATE JUDGE




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